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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LINDSAY HUTHNANCE,               )
                                 )
                  Plaintiff,     )
                                 )
v.                               )              No. 06-cv-1871 (HKK) (JMF)
                                 )              Trial: September 20, 2010
                                 )
DISTRICT OF COLUMBIA, et al.,    )
                                 )
                  Defendants.    )
_________________________________)

      PLAINTIFF’S MOTION FOR LEAVE TO SUBSTITUTE EXPERT WITNESS

        Plaintiff Lindsay Huthnance, through counsel, respectfully moves the Court for leave to

replace her expert witness, Larry P. Danaher. As explained in the attached memorandum of law

and Declaration of Larry P. Danaher, since he was retained to serve as an expert witness in this

case, Mr. Danaher has switched careers and taken a job that requires him to travel abroad for

long periods of time, often on short notice. When he made that transition, Mr. Danaher planned

to be available to testify at trial during the week of March 29, 2010, and for his commitment to

this case to be finished shortly thereafter. Due to the postponement of the trial date and

increased responsibilities as he has settled into his new job, Mr. Danaher has become unavailable

to fulfill his obligations as Plaintiff’s expert witness, including testifying at trial. As Mr.

Danaher attests, these unexpected changes have made continuing to serve as Plaintiff’s expert an

extreme hardship and, as a result, he is no longer available to do so.

        Mr. Danaher’s unforeseen unavailability provides good cause for Plaintiff’s request for

substitution, and she has acted diligently to replace Mr. Danaher within weeks of learning of his

unavailability. Accordingly, the Court should permit her to call a replacement expert witness,

who will not offer any opinions beyond those expressed in Mr. Danaher’s expert report, served
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on Defendants in October 2009. The legal basis for this request is explained in detail in the

attached memorandum of law.

             CERTIFICATION PURSUANT TO FRCP 26(c) AND LCvR 7(m)

       Plaintiff’s counsel certifies that they have in good faith attempted to confer with counsel

for Defendants regarding the matters addressed in the instant Motion. On July 2, 2010, at

approximately 10:30 a.m., undersigned counsel called all three attorneys of record for

Defendants — Eric Glover, Patricia Jones, and Dwayne Jefferson — in an attempt to obtain

Defendants’ consent to the replacement of Mr. Danaher as Plaintiff’s expert witness, but they

were unavailable. Undersigned counsel also sent the e-mail attached hereto as Exhibit 1 to each

of Defendants’ lawyers and requested that they contact him to discuss this matter, but they did

not respond. Accordingly, Plaintiff is compelled to file the instant Motion.

                                             Respectfully submitted,

DATED: July 2, 2010
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